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                          UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
   JOANNE BARROWS and SUSAN
   HAGOOD, individually and on behalf of all            Civil File No. 3:23-cv-654-CHB
   others similarly situated,
                                                       CLASS ACTION COMPLAINT
                       Plaintiffs,
         vs.
                                                        DEMAND FOR JURY TRIAL
   HUMANA, INC.,
                       Defendant.




                      PLAINTIFFS’ CLASS ACTION COMPLAINT

         Plaintiffs, JoAnne Barrows and Susan Hagood (“Plaintiffs”), individually and on

  behalf of all others similarly situated (the “Class” or “Classes”), by and through their

  attorneys, bring this class action against Defendant Humana, Inc. (“Defendant” or

  “Humana”) and allege as follows:

                                      INTRODUCTION

         1.     This putative class action arises from Humana’s illegal deployment of

  artificial intelligence (AI) in place of real doctors to wrongfully deny elderly patients care

  owed to them under Medicare Advantage Plans. The AI Model, known as nH Predict, is

  used to override real treating physicians’ determinations as to medically necessary care

  patients require. Humana knows that the nH Predict AI Model predictions are highly

  inaccurate and are not based on patients’ medical needs but continues to use this system to

  deny patients’ coverage.




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         2.     Despite the high rate of wrongful denials, Humana continues to systemically

  use this flawed AI Model to deny claims because they know that only a tiny minority of

  policyholders (roughly 0.2%)1 will appeal denied claims, and the vast majority will either

  pay out-of-pocket costs or forgo the remainder of their prescribed post-acute care. Humana

  banks on the patients’ impaired conditions, lack of knowledge, and lack of resources to

  appeal the wrongful AI-powered decisions.

         3.     The fraudulent scheme affords Humana a clear financial windfall in the form

  of policy premiums without having to pay for promised care, while the elderly are

  prematurely kicked out of care facilities nationwide, forced to deplete family savings to

  continue receiving necessary medical care, or forced to forgo care altogether, all because

  an AI Model “disagrees” with their real live doctors’ determinations.

         4.     Defendant Humana, Inc. is one of the nation’s largest insurance companies.

  Humana provides Medicare Advantage health insurance plans for 5.1 million eligible

  Americans.2

         5.     Humana masquerades as an insurer that brings “the human side of

  healthcare,” claiming, “Our approach is simple—offer personalized care from people who

  care.”3 Humana’s CEO Bruce Broussard claims Humana is “continuously working to

  remove barriers to health and to provide quality care.” 4 In reality, Humana systematically



  1 Karen Pollitz, et al., Claims Denials and Appeals in ACA Marketplace Plans in 2021,
  KFF (Feb. 9, 2023) https://www.kff.org/private-insurance/issue-brief/claims-denials-and-
  appeals-in-aca-marketplace-plans/ (last visited Nov. 13, 2023).
  2 For Each Person, HUMANA, https://www.humana.com/about/impact/individual (last
  visited Nov. 30, 2023).
  3 About Humana, HUMANA, https://www.humana.com/about (last updated Nov. 9, 2023).
  4 Letter From Humana’s President and Chief Executive Officer, HUMANA,
  https://www.humana.com/about/ceo-message (last updated Nov. 9, 2023).

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  deploys the AI algorithm to prematurely and in bad faith discontinue payment for

  healthcare services for elderly individuals with serious diseases and injuries. These elderly

  patients are left either with overwhelming medical debt, or without the medical care that

  they require.

         6.       The nH Predict AI Model determines Medicare Advantage patients’

  coverage criteria in post-acute care settings with rigid and unrealistic predictions for

  recovery.5 Relying on the nH Predict AI Model, Humana purports to predict how much

  care an elderly patient “should” require but overrides real doctors’ determinations as to the

  amount of care a patient in fact requires to recover. As such, Humana makes coverage

  determinations not based on individual patient’s needs, but based on the outputs of the nH

  Predict AI Model, resulting in the inappropriate denial of necessary care prescribed by the

  patients’ doctors. Humana’s implementation of the nH Predict AI Model resulted in a

  significant increase in the number of post-acute care coverage denials.

         7.       Humana intentionally limits its employees’ discretion to deviate from the nH

  Predict AI Model predictions by collaborating with naviHealth to set targets to keep stays

  at post-acute care facilities within 1% of the days projected by the AI Model.6 Employees

  who deviate from the nH Predict AI Model projections are disciplined and terminated,

  regardless of whether a patient requires more care.7

  5  Casey Ross and Bob Herman, Denied by AI: How Medicare Advantage plans use
  algorithms to cut off care for seniors in need, STAT (Mar. 13, 2023),
  https://www.statnews.com/2023/03/13/medicare-advantage-plans-denial-artificial-
  intelligence/ (last visited Nov. 13, 2023).
  6 Casery Ross and Bob Herman, UnitedHealth Pushed Employees to Follow an Algorithm
  to Cut Off Medicare Patients’ Rehab Care, STAT (Nov. 14, 2023),
  https://www.statnews.com/2023/11/14/unitedhealth-algorithm-medicare-advantage-
  investigation/#:~:text=The%20nation's%20largest%20health,a%20STAT%20investigatio
  n%20has%20found. (Humana uses the same nH Predict model as UnitedHealth).
  7 Id.



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         8.     The nH Predict AI Model saves Humana money by allowing them to deny

  claims they are obligated to pay and otherwise would have paid by eliminating the labor

  costs associated with paying doctors and other medical professionals for the time needed

  to conduct an individualized, manual review of each of its insured’s claims.

         9.     Humana also utilizes the nH Predict AI Model to aggressively deny coverage

  because they know they will not be held accountable for wrongful denials.

         10.    In many instances, Humana purposefully shifts the financial responsibilities

  of funding post-acute care of its insureds to American taxpayers. In its coverage denial

  letters, Humana informs patients who qualify for Medicare that their coverage is being

  denied solely due to their Medicare eligibility. Humana directs these patients to enroll in

  the government-subsidized Medicare program while failing to cover care for which they

  are contractually and statutorily obligated to cover.

         11.    Plaintiffs and Class members had their post-acute care coverage wrongfully

  terminated by Humana using the nH Predict AI Model. Humana failed to use reasonable

  standards in evaluating the individual claims of Plaintiffs and Class members and instead

  allowed their coverage needs to be wholly determined by AI.

         12.    By engaging in this misconduct, Humana breached its fiduciary duties,

  including the duties of good faith and fair dealing, because its conduct serves Humana’s

  own economic self-interest and elevates Humana’s interests above the interests of the

  insureds.

         13.    By bringing this action, Plaintiffs seek to remedy Humana’s past improper

  and unlawful conduct by recovering damages to which Plaintiffs and the Class are



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  rightfully entitled and enjoin Humana from continuing to perpetrate its scheme against its

  Medicare Advantage insureds.

                                JURISDICTION AND VENUE

         14.    This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to

  28 U.S.C. § 1332(d)(2). This is a class action in which there is a diversity of citizenship

  between at least one Plaintiff Class member and one Defendant; the proposed Classes each

  exceed one hundred members; and the matter in controversy exceeds the sum of

  $5,000,000.00, exclusive of interest and costs.

         15.    In addition, under 28 U.S.C. §1367, this Court may exercise supplemental

  jurisdiction over the state law claims because all claims are derived from a common

  nucleus of operative facts and are such that Plaintiffs would ordinarily expect to try them

  in one judicial proceeding.

         16.    This Court has personal jurisdiction over Humana, Inc. because Humana,

  Inc. is headquartered in Kentucky, has sufficient minimum contacts with Kentucky, and

  otherwise purposefully avail themselves of the benefits and protections of Kentucky law,

  so as to render the exercise of jurisdiction by this Court proper and consistent with

  traditional notion of fair play and substantial justice.

         17.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391. Humana, Inc.

  regularly conducts business in this District, and a substantial part of the events giving rise

  to the claims asserted herein occurred in this District. Humana, Inc. resides in this District,

  being headquartered at 500 West Main St., Louisville, KY 40202.

                                         THE PARTIES



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         18.    Plaintiff, JoAnne Barrows. JoAnne Barrows was at all times relevant to this

  action a citizen of Minnesota, residing in Hennepin County. At all relevant times mentioned

  herein, Ms. Barrows was covered by a Medicare Advantage Plan policy provided by

  Humana.

         19.    Plaintiff, Susan Hagood. Susan Hagood was at all times relevant to this

  action a citizen of North Carolina, residing in Buncombe County. At all relevant times

  mentioned herein, Ms. Hagood was covered by a Medicare Advantage Plan policy

  provided by Humana.

         20.    Defendant Humana, Inc. Humana, Inc. is a Delaware corporation,

  headquartered at 500 West Main St., Louisville, KY 40202. Humana, Inc. conducts

  insurance operations throughout the country, representing to consumers that it “mak[es]

  healthcare more equitable and accessible,” and that it “make[s] it easier for people to

  achieve their best health.”8 Humana, Inc. has a license to use the federally registered service

  mark “HUMANA,” markets and issues health insurance and insures, issues, administers,

  and makes coverage and benefit determinations related to the health care policies nationally

  through its controlled agents and undisclosed principals and agents. Defendant Humana,

  Inc. is licensed and registered to conduct business in all 50 states, and does conduct

  business in all 50 states, and is thereby subject to the laws and regulations of all 50 states.

                                 FACTUAL ALLEGATIONS

         A. Background




  8 Humana’s Impact, HUMANA, https://www.humana.com/about/impact (last updated Nov.
  9, 2023).

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         21.    Humana offered and sold Medicare Advantage health insurance plans to

  consumers, including Plaintiffs and Class members.

         22.    A Medicare Advantage plan is a type of health plan offered by private

  companies that contract with Medicare. Medicare Advantage is a taxpayer-funded

  alternative to traditional Medicare that covers 30.8 million people.9 Medicare Advantage

  accounts for more than half (51 percent) of the eligible Medicare population, and

  $454 billion (or 54 percent) of total federal Medicare spending.10

         23.    Plaintiffs and Class members enrolled with Humana to receive Medicare

  Advantage health insurance coverage. Medicare Advantage Plans must follow the rules set

  by Medicare.11 Humana provided Plaintiffs and members of the Class with written terms

  explaining the plan coverage Humana offered to them. According to these terms, Humana

  is obligated to provide benefits for covered health services and must pay all reasonable and

  medically necessary expenses incurred by a covered member.

         24.    From at least December 12, 2019, to the present (the “Relevant Period”),

  Plaintiffs and Class members were referred to and received “post-acute care”—medically

  necessary care for patients recovering from serious illnesses and injuries. Post-acute care

  is covered by the terms of their insurance agreements provided by Humana.

         25.    Post-acute care encompasses skilled care, therapy, and other services

  provided by home health agencies (HHAs), skilled nursing facilities (SNFs), inpatient



  9 Nancy Ochieng, et al., Medicare Advantage in 2023: Enrollment Update and Key Trends,
  KFF (Aug. 9, 2023), https://www.kff.org/medicare/issue-brief/medicare-advantage-in-
  2023-enrollment-update-and-key-trends/ (last visited Nov. 13, 2023).
  10 Id.
  11 Your Health Plan Options, MEDICARE.GOV, https://www.medicare.gov/health-drug-
  plans/health-plans/your-health-plan-options (last visited Nov. 13, 2023).

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  rehabilitation facilities (IRFs), acute inpatient rehab facilities (AIRs), acute rehab units

  (ARUs), and long-term care hospitals (LTCHs), collectively known as post-acute care

  (PAC) providers because they typically furnish care after an inpatient hospital stay.

         26.    Medicare Advantage providers use a prospective payment system for each

  type of PAC provider. Under this system, insurers pay PAC providers an upfront fee that

  is based on estimates of the national average cost of providing covered care for a specified

  period of time.

         27.    Due to the nature of the prospective payment system, insurers’ coverage

  decisions occur before or during a patient’s post-acute care. When the insurer decides to

  end coverage before the doctor’s requested discharge date for the patient, the patients are

  left with an impossible choice: to either forgo their post-acute care despite not being well

  enough to function without it or pay out-of-pocket to continue receiving care they were

  wrongfully denied—if they can afford it.

         28.    Humana has deliberately failed to fulfill its statutory, common law, and

  contractual obligations to have a doctor determine individual coverage for post-acute care

  in a thorough, fair, and objective manner, instead using the nH Predict AI Model to supplant

  real doctors’ recommendations and patients’ medical needs. Humana’s use of the nH

  Predict AI Model, which directs Humana’s medical review employees to prematurely stop

  covering care without considering an individual patient’s needs, is systematic, illegal,

  malicious, and oppressive.12


  12 Casey Ross and Bob Herman,         Denied by AI: How Medicare Advantage plans use
  algorithms to cut off care for seniors in need, STAT (Mar. 13, 2023),
  https://www.statnews.com/2023/03/13/medicare-advantage-plans-denial-artificial-
  intelligence/ (last visited Nov. 13, 2023).

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           29.   The nH Predict AI Model attempts to predict the amount of post-acute care

  a patient “should” require, pinpointing the precise moment when Humana will cut off

  payment for a patient’s treatment. The nH Predict AI Model compares a patient’s diagnosis,

  age, living situation, and physical function to similar patients in a database of six million

  patients it compiled over the years of working with providers to predict patients’ medical

  needs, estimated length of stay, and target discharge date13.




  13 Id.



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         30.    The following is a true and correct representation of a sample nH Predict

   Outcome sheet, taken from a naviHealth presentation:14




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          31.    Humana wrongfully delegates its obligation to evaluate and investigate

   claims to the nH Predict AI Model. The nH Predict AI Model spits out generic

   recommendations based on incomplete and inadequate medical records and fails to adjust

   for a patient’s individual circumstances and conflict with basic rules on what Medicare

   Advantage plans must cover.

          32.    Upon information and belief, the nH Predict AI Model applies rigid criteria

   from which Humana’s employees are instructed not to deviate. The employees who deviate

   from the nH Predict AI Model prediction are disciplined and terminated, regardless of

   whether the additional care for a patient is justified.

          33.    Under Medicare Advantage Plans, patients who have a three-day hospital

   stay are typically entitled to up to 100 days in a nursing home. With the use of the nH

   Predict AI Model, Humana cuts off payment in a fraction of that time. Patients rarely stay

   in a nursing home more than 14 days before they start receiving payment denials. 15

          34.    Upon information and belief, the outcome reports generated by nH Predict

   are rarely, if ever, communicated with patients or their doctors. When patients and doctors

   request their nH Predict reports, Humana’s employees deny their requests and tell them

   that the information is proprietary.

          35.    Upon information and belief, over 90 percent of patient claim denials are

   reversed through either an internal appeal process or through federal Administrative Law


   14  NaviHealth Guiding the Way – Animated Explainer, ECG PRODUCTIONS
   https://www.ecgprod.com/navihealth-guiding-the-way-animated-explainer/ (last visited
   Nov. 13, 2023).
   15 Casey Ross and Bob Herman, Denied by AI: How Medicare Advantage plans use
   algorithms to cut off care for seniors in need, STAT (Mar. 13, 2023)
   https://www.statnews.com/2023/03/13/medicare-advantage-plans-denial-artificial-
   intelligence/ (last visited Nov. 13, 2023).

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   Judge (ALJ) proceedings. This demonstrates the blatant inaccuracy of the nH Predict AI

   Model, and the lack of human review involved in the coverage denial process.

          36.    Humana fraudulently misled its insureds into believing that their health plans

   would individually assess their claims and pay for medically necessary care.

          37.    Had Plaintiffs and Class members known that Humana would evade the

   legally required process for reviewing patient claims and instead delegate that process to

   its nH Predict AI Model to review and deny claims, they would not have enrolled with

   Humana and/or would not have paid for their plan the amount they had to pay to be

   enrolled.

          38.    Humana’s use of the nH Predict AI Model to deny its insureds’ claims

   undermines the principles of fairness and meaningful claim evaluation, which insureds

   expect from their insurers.

          B. Plaintiff JoAnne Barrows

          39.    Plaintiff JoAnne Barrows is enrolled in the Medicare Advantage Plan

   provided by Humana.

          40.    In November of 2021, 86-year-old JoAnne Barrows fell at home and

   fractured her leg. On or around November 23, 2023, Ms. Barrows was admitted to

   Methodist Hospital in St. Louis Park, Minnesota, where she was placed in a cast and put

   on a non-weight-bearing order for six weeks.

          41.    On or around November 26, 2021, Ms. Barrows was discharged from

   Methodist Hospital and admitted to the Good Samaritan Society Ambassador rehabilitation

   facility in Robbinsdale, Minnesota.



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          42.       On or around December 9, 2021, Humana informed Ms. Barrows that they

   were terminating her coverage in two days, on December 11, after only approximately two

   weeks of care.

          43.       Ms. Barrows and her doctor were bewildered by Humana’s premature

   termination of coverage because Ms. Barrows was still under a non-weight-bearing order

   for four more weeks. Ms. Barrows’s doctor recommended that she continue rehabilitation

   treatment, but Humana refused to cover additional treatment.

          44.       Ms. Barrows and her family vigorously appealed Humana’s denial, but their

   efforts were unsuccessful. The appeals were denied, and Humana deemed Ms. Barrows

   ready to return home despite being bedridden and using a catheter.

          45.       Because Ms. Barrows was not yet fit to return home, her family had no choice

   but to pay for her stay at the Good Samaritan Society Ambassador rehabilitation facility

   out of pocket.

          46.       Due to the high cost of the Good Samaritan Society Ambassador

   rehabilitation facility, Ms. Barrows’ family made the difficult decision to transfer her to an

   assisted living facility, which was less expensive.

          47.       Unfortunately, the care provided at the assisted living facility was

   substandard, resulting in the deterioration of Ms. Barrows’s condition.

          48.       As a result, Ms. Barrows’s family had to make another difficult decision and

   end her care due to the poor quality of care she was receiving. On or around December 22,

   2021, Ms. Barrows returned home, but she was not in a physical state to be there safely.

   She was unable to use her injured leg, could not go to the restroom without assistance, and

   still had a catheter in.

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          49.    Due to Humana’s wrongful denial of coverage, Ms. Barrows health was

   significantly impacted as she could not afford to receive the care she needed and was

   entitled to. Ms. Barrows also suffered significant economic losses in the form of out of

   pocket payments for treatment that should have been otherwise covered by her plan.

          C. Plaintiff Susan Hagood

          50.    Plaintiff Susan Hagood is enrolled in the Medicare Advantage plan provided

   by Humana.

          51.    On or around September 10, 2022, Ms. Hagood was admitted to Mission

   Hospital in Asheville, North Carolina, with a urinary tract infection, sepsis, and a spinal

   infection.

          52.    On or around October 26, 2022, Ms. Hagood was discharged from Mission

   Hospital with eleven discharging diagnoses, including sepsis, acute kidney failure, kidney

   stones, nausea and vomiting, a urinary tract infection, osteomyelitis of lumbar spine, and

   an L3 phlegmon.

          53.    She was admitted to a skilled nursing facility, The Oaks at Brevard, the same

   day. During her time at the skilled nursing facility, Ms. Hagood was on a maximum

   allowable dose of oxycodone and constantly endured exceptionally high pain levels.

          54.    Additionally, Ms. Hagood suffered from low oxygenation, which developed

   into pneumonia.

          55.    After a telehealth conference with her infectious disease specialist on or

   around November 15, 2022, Ms. Hagood scheduled an appointment at Mission Hospital

   for November 28, 2022.



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          56.    Upon return to Mission Hospital on November 28, 2022, she experienced a

   rapid spike in blood pressure and was taken to the emergency room, where it was

   discovered that Ms. Hagood’s condition had worsened considerably. She was diagnosed

   with a multi-level disc edema with discitis osteomyelitis, consolidative phlegmon within

   her epidural spaces, a large staghorn calculus in each kidney, and pneumonia.

          57.    On or around November 27, 2022, Humana denied Ms. Hagood’s claim for

   the treatment she received at The Oaks at Brevard between November 14 and November

   28, refusing to pay for half of her month-long stay. Despite Ms. Hagood’s critical

   condition, Humana denied her coverage, explaining that Ms. Hagood did not require the

   level of care a skilled nursing facility provided and should be discharged home.

          58.    Ms. Hagood and her family have incurred over $24,000 in out-of-pocket

   medical expenses for treatment that Humana should have covered.

          59.    To date, Ms. Hagood remains in a skilled nursing facility and requires

   ongoing medical care due to her health condition.

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                                  CLASS ALLEGATIONS

          60.    Plaintiffs bring this action on their own behalf and on behalf of all other

   persons similarly situated pursuant to Rule 23 of the Federal Rules of Civil Procedure. The

   Class which Plaintiffs seek to represent comprises:




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                 “All persons who purchased Medicare Advantage Plan health insurance from

                 Defendant in the United States during the period of four years prior to the

                 filing of the complaint through the present.”

   Said definition may be further defined or amended by additional pleadings, evidentiary

   hearings, a class certification hearing, and orders of this Court.

          61.    The Multi-State subclass which Plaintiffs seek to represent comprises:

                 “All persons who purchased Medicare Advantage Plan health insurance from

                 Defendant during the period of four years prior to the filing of the complaint

                 through the present in the following states: Arizona, California, Colorado,

                 Delaware, Hawaii, Iowa, Kentucky, Massachusetts, Nebraska, North

                 Carolina, North Dakota, Ohio, Oklahoma, Rhode Island, South Carolina,

                 South Dakota, Vermont, Washington, West Virginia, Wisconsin, and

                 Wyoming.”

   Said definition may be further defined or amended by additional pleadings, evidentiary

   hearings, a class certification hearing, and orders of this Court.

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          62.    The North Carolina Subclass which Plaintiffs seek to represent comprises:

                 “All persons who purchased Medicare Advantage Plan health insurance from

                 Defendant in the state of North Carolina during the period of four years prior

                 to the filing of the complaint through the present.”



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   Said definition may be further defined or amended by additional pleadings, evidentiary

   hearings, a class certification hearing, and orders of this Court.

          63.    The Class is so numerous that their individual joinder herein is impracticable.

   On information and belief, members of the Class number in the thousands to millions

   throughout the United States and the named states. The precise number of Class members

   and their identities are unknown to Plaintiffs at this time but may be determined through

   discovery. Class members may be notified of the pendency of this action by mail and/or

   publication through the distribution records of Humana and third-party retailers and

   vendors.

          64.    Common questions of fact and law predominate over questions that may

   affect individual class members, including the following:

                   a.   Whether Humana’s delegation of coverage determinations to an

                   automated procedure resulted in a failure to diligently conduct a thorough,

                   fair, and objective investigation into determinations of claims for medical

                   expenses submitted by insureds and/or healthcare providers;

                   b.   Whether Humana automatically denied coverage for claims submitted

                   by insureds and/or healthcare providers without adhering to Medicare’s

                   detailed coverage criteria;

                   c.   Whether Humana’s denials of coverage are based on its use of nH

                   Predict AI Model to determine a patients’ care needs based on Humana’s

                   or naviHealth, Inc.’s internally-generated criteria;




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                  d.     Whether Humana failed to adopt and implement reasonable standards

                  for the prompt investigation and processing of claims arising under

                  insurance policies; and

                  e.     Whether Humana has a practice of relying on the nH Predict AI

                  Model to make coverage denials instead of engaging in good-faith

                  individual coverage determinations.

          65.    Plaintiffs’ claims are typical of the claims of the Class and arise from the

   same common practice and scheme used by Humana to deny coverage for the members of

   the Class. In each instance, Humana used the nH Predict AI Model to review, process, and

   reduce coverage without adhering to the coverage determination standards set by Medicare.

   Plaintiffs will fairly and adequately represent and protect the interests of the Class.

   Plaintiffs have retained competent and experienced counsel in class action and other

   complex litigation.

          66.    Plaintiffs and the Class have suffered injury in fact and have lost money as a

   result of Humana’s misconduct. Plaintiffs and the Class had their coverage automatically

   and illegally denied by Humana’s use of the nH Predict AI Model without individualized

   evaluation of their medical records by Humana’s medical directors.

          67.    A class action is superior to other available methods for fair and efficient

   adjudication of this controversy. The expense and burden of individual litigation would

   make it impracticable or impossible for the Class to prosecute their claims individually.

          68.    The trial and litigation of Plaintiffs’ claims are manageable. Individual

   litigation of the legal and factual issues raised by Humana’s conduct would increase delay

   and expense to all parties and the court system. The class action device presents far fewer

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   management difficulties and provides the benefits of a single, uniform adjudication,

   economics of scale, and comprehensive supervision by a single court.

          69.    Humana has acted on grounds generally applicable to the entire Class,

   thereby making final injunctive relief and/or corresponding declaratory relief appropriate

   with respect to the Class as a whole. The prosecution of separate actions by individual

   Class members would create the risk of inconsistent or varying adjudications with respect

   to individual Class members that would establish incompatible standards of conduct for

   Humana.

          70.    Absent a class action, Humana will likely retain the benefits of its

   wrongdoing. Because of the small size of the individual Class members’ claims, few, if

   any, Class members could afford to seek legal redress for the wrongs complained of herein.

   Absent a representative action, the Class will continue to suffer losses and Humana will be

   allowed to continue these violations of law and to retain the proceeds of its ill-gotten gains.



                                 FIRST CAUSE OF ACTION
                         BREACH OF CONTRACT—NATIONWIDE
                        (On Behalf of Plaintiffs and the Nationwide Class)

          71.    Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          72.    Humana formed an agreement and entered into a contract of insurance

   (“insurance agreement”) with Plaintiffs and Class members including offer, acceptance,

   and consideration.

          73.    Pursuant to that insurance agreement, Plaintiffs and the Class paid money to

   Humana in exchange for Humana providing a health insurance policy to Plaintiffs and the

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   Class. Humana received premiums in exchange for the issuance of a policy of health

   insurance.

          74.    Each insurance agreement included, without limitation, Defendant’s duty to

   exercise its fiduciary duties to policyholders, abide by applicable state laws, and adequately

   review and inform policyholders prior to a claim denial.

          75.    Plaintiffs and the Class performed their obligations under the contract by

   timely paying the amounts due under the contract.

          76.    Humana breached each insurance agreement by, without limitation, failing

   to keep its promise to fulfill its fiduciary duties to policyholders, abide by applicable state

   laws, provide a thorough, fair, and objective investigation of each submitted claim prior to

   a claim denial, and provide written statements to Plaintiffs and the Class, accurately listing

   all bases for Humana’s denial of claims and the factual and legal bases for each reason

   given for such denial.

          77.    By using the nH Predict AI Model to unreasonably deny Plaintiffs’ and Class

   members’ claims without an adequate individualized investigation, Humana breached the

   insurance agreement.

          78.    As a direct and proximate result of Humana’s breach of contract, Plaintiffs

   and the Class have suffered damages in an amount to be proven at trial.

                       SECOND CAUSE OF ACTION
       BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR
                         DEALING—NATIONWIDE
                (On Behalf of Plaintiffs and the Nationwide Class)

          79.    Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.


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             80.      Plaintiffs and Class members entered into written insurance agreements with

   Humana and that provided for coverage for medical services administered by healthcare

   providers.

             81.      Pursuant to the contracts, Humana implied and covenanted that they would

   act in good faith and follow the law and the contracts with respect to the prompt and fair

   payment of Plaintiffs’ and Class members’ claims.

             82.      Humana has breached its duty of good faith and fair dealing by, among other

   things:

                   a. Improperly delegating its claims review function to the nH Predict system

                      which uses an automated process to improperly deny claims;

                   b. Failing to require its agents to conduct a thorough, fair, and objective

                      investigation of each submitted claim, such as examining patient records,

                      reviewing coverage policies, and using their expertise to decide whether to

                      approve or deny claims to avoid unfair denials.

             83.      Humana’s practices as described herein violated its duties to Plaintiffs and

   Class members under the insurance contracts.

             84.      Humana’s practices as described herein constitute an unreasonable denial of

   Plaintiffs’ and Class members’ rights to a thorough, fair, individualized, and objective

   investigation of each of their claims in breach of the implied covenant of good faith and

   fair dealing arising from Humana’s insurance agreements.

             85.      Humana’s practices as described herein further constitute an unreasonable

   denial to pay benefits due to Plaintiffs and Class members in breach of the implied covenant

   of good faith and fair dealing arising from Humana’s insurance agreements.

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          86.    Humana’s wrongful denial of Plaintiffs’ and Class members’ right to a

   thorough, fair, and objection investigation and a wrongful denial of claims damaged

   Plaintiffs and Class members.

          87.     As a direct and proximate result of Humana’s breaches, Plaintiffs and Class

   members have suffered and will continue to suffer in the future, economic losses, including

   the benefits owned under the health insurance plans in the millions, the interruption in

   Plaintiffs’ and Class members’ businesses, and other general, incidental, and consequential

   damages, in amounts according to proof at trial. Plaintiffs and Class members are also

   entitled to recover statutory and prejudgment interest against Humana.

          88.    Humana’s misconduct was committed intentionally, in a malicious,

   fraudulent, despicable, and oppressive manner, entitling Plaintiffs and Class members to

   punitive damages against Defendant.

                              THIRD CAUSE OF ACTION
                        UNJUST ENRICHMENT—NATIONWIDE
                      (On Behalf of Plaintiffs and the Nationwide Class)

          89.    Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          90.    By delegating the claims review process to the nH Predict system, Humana

   knowingly charged Plaintiffs and Class members insurance premiums for a service that

   Humana failed to deliver; this was done in a manner that was unfair, unconscionable, and

   oppressive.




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          91.      Humana knowingly received and retained wrongful benefits and funds from

   Plaintiffs and Class members. In so doing, Humana acted with conscious disregard for the

   rights of Plaintiffs and Class members.

          92.      As a result of Humana’s wrongful conduct as alleged herein, Humana has

   been unjustly enriched at the expense of, and to the detriment of, Plaintiffs and members

   of the Class.

          93.      Humana’s unjust enrichment is traceable to, and resulted directly and

   proximately from, the conduct alleged herein.

          94.      Under the common law doctrine of unjust enrichment, it is inequitable for

   Humana to be permitted to retain the benefits they received, without justification, from

   arbitrarily denying its insureds medical payments owed to them under Humana’s policies

   in an unfair, unconscionable, and oppressive manner. Humana’s retention of such funds

   under such circumstances making it inequitable to retain the funds constitutes unjust

   enrichment.

          95.      The financial benefits derived by Humana rightfully belong to Plaintiffs and

   Class members. Humana should be compelled to return in a common fund for the benefit

   of Plaintiffs and members of the Class all wrongful or inequitable proceeds received by

   Humana.

          96.      Plaintiffs and members of the Class have no adequate remedy at law.

                            FOURTH CAUSE OF ACTION
           VIOLATION OF N.C. Gen. Stat. § 58-63-15—NORTH CAROLINA
                  UNFAIR CLAIMS SETTLEMENT PRACTICES
           (On Behalf of Plaintiff Susan Hagood and the North Carolina Class)




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            97.    Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

            98.    Pursuant to N.C. Gen. Stat. § 58-63-15, Humana is prohibited from engaging

   in unfair claims settlement practices.

            99.    Humana has nevertheless engaged, and continues to engage, in unfair claims

   settlement practices by using the nH Predict algorithm to unreasonably and prematurely

   refuse to cover care for Medicare Advantage patients in post-acute care facilities without

   sufficient individual and holistic review.

            100.   Defendant failed to initiate and conclude a claims investigation into

   Plaintiffs’ and Class member’s claims with all reasonable dispatch. Instead, Defendant

   relied on the nH Predict AI Model to deny Plaintiffs’ claims in bad faith and without an

   individualized investigation.

            101.   Defendant made no good faith attempt to effectuate a fair and equitable

   settlement of Plaintiffs’ and Class members’ claims, for which liability would have been

   reasonably clear had Defendant conducted an adequate investigation.

            102.   Defendant failed to adopt and implement reasonable standards for the prompt

   investigation of claims arising under their insurance policies.

            103.   In issuing its denials based on nH Predict, Defendant refused to pay claims

   without conducting a reasonable investigation based upon all available information.

            104.   As a direct and proximate result of Defendant’s violation of N.C. Gen. Stat.

   § 58-63-15, Plaintiffs and the Class have suffered damages in an amount to be proven at

   trial.

                                    FIFTH CAUSE OF ACTION

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            VIOLATION OF N.C. Gen. Stat. § 58-63-15—NORTH CAROLINA
                   UNFAIR CLAIMS SETTLEMENT PRACTICES
            (On Behalf of Plaintiff Susan Hagood and the North Carolina Class)

          105.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          106.   Pursuant to N.C. Gen. Stat. § 75-1.1, Humana is prohibited from engaging in

   unfair or deceptive acts or practices, or unfair methods of competition, in or affecting

   commerce.

          107.   Humana has nevertheless engaged, and continues to engage, in unfair or

   deceptive acts or practices or unfair methods of competition in or affecting commerce by

   using the nH Predict algorithm to unreasonably and prematurely refuse to cover care for

   Medicare Advantage patients in post-acute care facilities without sufficient individual and

   holistic review.

          108.   Violations of N.C. Gen. Stat. § 58-63-15(11) constitute per se violations of

   N.C. Gen. Stat. § 75-1.1. As alleged in the immediately preceding cause of action, Humana

   has violated N.C. Gen. Stat. § 58-63-15(11), resulting in a per se violation of N.C. Gen.

   Stat. § 75-1.1.

          109.   Defendant failed to initiate and conclude a claims investigation into

   Plaintiffs’ and Class member’s claims with all reasonable dispatch. Instead, Defendant

   relied on the nH Predict AI Model to deny Plaintiffs’ claims in bad faith and without an

   individualized investigation.

          110.   Defendant made no good faith attempt to effectuate a fair and equitable

   settlement of Plaintiffs’ and Class members’ claims, for which liability would have been

   reasonably clear had Defendant conducted an adequate investigation.

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            111.   As a direct and proximate result of Defendant’s violation of N.C. Gen. Stat.

   § 58-63-15, Plaintiffs and the Class have suffered damages in an amount to be proven at

   trial.

                               SIXTH CAUSE OF ACTION
                      INSURANCE BAD FAITH—NORTH CAROLINA
                       (On Behalf of Plaintiffs and the Multi-State Class)

            112.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

            113.   Defendant used and continues to use the nH Predict AI Model to

   unreasonably refuse coverage for medically necessary post-acute care. The nH Predict AI

   Model does not account for individuals’ unique circumstances or the statutorily required

   coverage determination criteria. The nH Predict AI Model denies coverage that is legally

   guaranteed to Defendant’s insureds.

            114.   Defendant lacked a reasonable basis for refusing to cover policyholders’

   post-acute care. Defendant’s use of previous patients’ data to determine its insureds’ future

   care without regard for individual circumstances, doctors’ recommendations, and patients’

   actual conditions is unreasonable.

            115.   Defendant’s denials breach the insurance agreement and are made in bad

   faith to save money on costly post-acute care coverage. Defendant ignored patients’

   medical records, individual circumstances, and physicians’ notes while strictly adhering to

   whatever recommendations the nH Predict AI Model issued.

            116.   Defendant knew or reasonably should have known that the nH Predict AI

   Model was not a suitable substitute for individual holistic review of Plaintiffs’ and the

   Class members’ claims. Due to the enormous increase in the number of coverage denial

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   appeals, as well as the 90 percent success rate of those appeals, Defendant has been put on

   notice that the nH Predict AI Model wrongly denies coverage in the vast majority of cases.

          117.   By using nH Predict to predict Plaintiffs’ and the Class members’ required

   coverage for post-acute care, Defendant failed to conduct an adequate investigation before

   denying their claims. Defendant did not consider individual factors that may affect the

   recovery period or amount of care a patient requires, and routinely ignored the recovery

   time or treatment prescribed by Plaintiffs’ and the Class members’ physicians.

          118.   As a direct result of Defendant’s insurance bad faith, Plaintiffs and the Class

   have sustained damages in an amount to be determined at trial.

          119.   Defendant has engaged in insurance bad faith and are liable to Plaintiffs and

   the Class for any and all damages that they sustained as a result of its bad faith conduct.

          120.   Defendant’s bad faith conduct is the actual and proximate cause of the

   damages sustained by Plaintiffs and the Class.

          121.   As a result of Defendant’s bad faith conduct, Class members suffered severe

   emotional distress. Class members did not know whether they would be able to receive

   necessary care, whether they would be forced to pay out of pocket for said care, or whether

   they would be financially able to pay for said care, causing severe emotional distress.

          122.   Class members’ emotional distress caused pecuniary loss whereby they had

   to pay out of pocket for treatment, by disrupting Class members’ lives and schedules, by

   causing Class members to miss work and lose wages, and by other means.

          123.   Defendant’s bad faith conduct, as alleged herein, was and continues to be

   malicious and intentionally designed to deprive Plaintiffs and the Class of their rights under

   the insurance agreement. Defendant knew of the dire consequences of denying elderly

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   patients’ medical treatment, yet still denied claims without any reasonable or arguable

   reason for doing so, recklessly and maliciously disregarding the health and lives of

   Plaintiffs and the Class.

          124.   Defendant’s misconduct was committed intentionally and willfully, in a

   malicious, fraudulent, wanton, and oppressive manner, entitling Plaintiffs and Class

   members to punitive damages against Defendant. Defendant acted with an “evil mind” in

   wantonly denying Plaintiffs and Class Members necessary care, causing severe physical

   and emotional turmoil, to increase their profits.

          125.   Plaintiffs and the Class are entitled to an award of punitive damages based

   on Defendant’s malicious conduct and their intentional and unreasonable refusal to pay

   claims.

          126.   By reason of the conduct of Defendant as alleged herein, Plaintiffs have

   necessarily retained attorneys to prosecute the present action. Plaintiffs are therefore

   entitled to reasonable attorneys’ fees and litigation expenses, including expert witness fees

   and costs, incurred in bringing this action.

          127.   Defendant had no reasonable basis for the denial of coverage.

          128.   Defendant knew or should have known that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or recklessly disregarded that

   there was no reasonable basis for denial of Plaintiffs’ and Class members’ claims.

          129.   Defendant’s conduct constitutes aggravating and outrageous conduct.

          130.   By reason of the conduct of Defendant as alleged herein, Plaintiffs are

   entitled to attorneys’ fees and costs associated with bringing this litigation, pursuant to

   N.C. Gen. Stat. § 75–16.1.

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                             SEVENTH CAUSE OF ACTION
                         INSURANCE BAD FAITH—ARIZONA
                      (On Behalf of Plaintiffs and the Multi-State Class)

          131.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          132.   Defendant had no reasonable basis for the denial of coverage.

          133.   Defendant knew or should have known that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or recklessly disregarded that

   there was no reasonable basis for denial of Plaintiffs’ and Class members’ claims.

          134.   The validity of Plaintiffs’ and Class members’ claims was readily apparent

   on its face and would not have been fairly debatable if an adequate investigation had been

   conducted.

          135.   As alleged above, Defendant intentionally breached the implied covenant of

   good faith and fair dealing by denying Plaintiffs and the Class the security and peace of

   mind that is the object of the insurance relationship.

          136.   A reasonable insurer would not have denied payment of Plaintiffs’ and Class

   members’ claims under the facts and circumstances present.

          137.   Plaintiffs are entitled to reasonable attorneys’ fees and litigation expenses

   incurred with bringing this action, pursuant to A.R.S. § 12–341.01.

                             EIGHTH CAUSE OF ACTION
                        INSURANCE BAD FAITH—CALIFORNIA
                      (On Behalf of Plaintiffs and the Multi-State Class)



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          138.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          139.   Defendant withheld benefits due under the insurance agreement by refusing

   to pay Plaintiffs’ and Class members’ claims.

          140.   Defendant had no reasonable basis for the denial of coverage.

          141.   Defendant knew or should have known that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or recklessly disregarded that

   there was no reasonable basis for denial.

          142.   By using nH Predict to determine whether to deny coverage instead of

   independent review by physicians, Defendant failed to act reasonably in processing and

   handling Plaintiffs’ claims.

          143.   By reason of the conduct of Defendant as alleged herein, Plaintiffs are

   entitled to consequential damages pursuant to Cal. Civ. Code § 3300.

          144.   By reason of the conduct of Defendant as alleged herein, Plaintiffs are

   entitled to emotional distress damages pursuant to Cal. Civ. Code § 3333.

          145.   By reason of the conduct of Defendant as alleged herein, Plaintiffs are

   entitled to punitive damages pursuant to Cal Civ. Code § 3294(a).

                              NINTH CAUSE OF ACTION
                        INSURANCE BAD FAITH—COLORADO
                      (On Behalf of Plaintiffs and the Multi-State Class)

          146.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          147.   Defendant had no reasonable basis for the denial of coverage.



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          148.   Defendant knew or should have known that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or recklessly disregarded that

   there was no reasonable basis for denial.

          149.   By using nH Predict to decide to deny coverage, Defendant denied Plaintiffs’

   and Class members’ claims without a reasonable basis.

          150.   By reason of the conduct of Defendant as alleged herein, Plaintiffs and

   members of the Class are entitled to punitive damages pursuant to C.R.S. § 13–21–

   102(3)(a).

                               TENTH CAUSE OF ACTION
                         INSURANCE BAD FAITH—DELAWARE
                       (On Behalf of Plaintiffs and the Multi-State Class)

          151.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          152.   Defendant withheld benefits due under the insurance agreement by refusing

   to pay Plaintiffs’ claims.

          153.   Defendant’s denial of Plaintiffs’ and Class members’ claims was clearly

   without any reasonable justification.

          154.   By using nH Predict to decide to deny Plaintiffs’ claims, Defendant failed to

   conduct an adequate investigation before denying Plaintiffs’ and Class members’ claims.

          155.   Defendant’s habitual use of nH Predict to deny insurance claims constitutes

   a general business practice of denying insurance claims without a reasonable basis.

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                                ELEVENTH CAUSE OF ACTION

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                           INSURANCE BAD FAITH—HAWAII
                       (On Behalf of Plaintiffs and the Multi-State Class)

          156.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          157.   Defendant withheld benefits due under the insurance agreement by refusing

   to pay Plaintiffs’ claims.

          158.   Defendant’s reason for denying Plaintiffs’ and Class members’ claims was

   unreasonable and without proper cause.

          159.   By using nH Predict to determine whether to deny coverage, Defendant

   failed to act reasonably in processing and handling Plaintiffs’ and Class members’ claims.

          160.   By reason of the conduct of Defendant as alleged herein, Plaintiffs are

   entitled to attorneys’ fees and costs associated with bringing this litigation, pursuant to

   Haw. Rev. Stat. § 431:10–242.

                             TWELFTH CAUSE OF ACTION
                            INSURANCE BAD FAITH—IOWA
                       (On Behalf of Plaintiffs and the Multi-State Class)

          161.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          162.   Defendant had no reasonable basis for the denial of coverage.

          163.   Defendant knew or had reason to know that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or had reason to know that the

   nH Predict AI Model was not a reasonable basis to deny claims.

          164.   The validity of Plaintiffs’ and Class members’ claims were not fairly

   debatable as a matter of fact or law.


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          165.   By using nH Predict to determine whether to deny coverage instead of

   independent review, Defendant failed to act reasonably in processing and handling

   Plaintiffs’ and Class members’ claims.

          166.   Defendant’s bad faith conduct caused Plaintiffs and the Class severe mental

   suffering.

                            THIRTEENTH CAUSE OF ACTION
                         INSURANCE BAD FAITH—KENTUCKY
                       (On Behalf of Plaintiffs and the Multi-State Class)

          167.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          168.   Defendant was obligated to pay Plaintiffs’ and Class members’ claims under

   the insurance agreement.

          169.   Defendant had no reasonable basis for the denial of coverage.

          170.   Defendant knew or should have known that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or recklessly disregarded that

   there was no reasonable basis for denial.

                           FOURTEENTH CAUSE OF ACTION
                      INSURANCE BAD FAITH—MASSACHUSETTS
                       (On Behalf of Plaintiffs and the Multi-State Class)

          171.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          172.   Defendant withheld benefits due under the insurance agreement by refusing

   to pay Plaintiffs’ claims.

          173.   Defendant’s reason for denying Plaintiffs’ and Class members’ claims was

   unreasonable and without proper cause.

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          174.   By using nH Predict to determine whether to deny coverage, Defendant

   failed to act reasonably in processing and handling Plaintiffs’ and Class members’ claims.

                            FIFTEENTH CAUSE OF ACTION
                        INSURANCE BAD FAITH—NEBRASKA
                      (On Behalf of Plaintiffs and the Multi-State Class)

          175.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          176.   Defendant had no reasonable basis for the denial of coverage.

          177.   Defendant knew or should have known that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or recklessly disregarded that

   there was no reasonable basis for denial.


                           SIXTEENTH CAUSE OF ACTION
                      INSURANCE BAD FAITH—NORTH DAKOTA
                      (On Behalf of Plaintiffs and the Multi-State Class)

          178.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          179.   The claims that Plaintiffs and Class members submitted to Defendant were

   covered by the insurance policy, and ought to have been paid.

          180.   Defendant’s reasons for denying Plaintiffs’ and Class members’ claims were

   unreasonable and without proper cause.

          181.   Defendant’s denials of Plaintiffs’ and Class members’ claims were based on

   the malicious implementation of the nH Predict AI Model intended to enable Defendant to

   deny as many claims as possible and to pay out as little as possible. The validity of




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   Plaintiffs’ and Class members’ claims was neither fairly debatable, nor was there a

   reasonable basis for denying the claim.

                          SEVENTEENTH CAUSE OF ACTION
                           INSURANCE BAD FAITH—OHIO
                      (On Behalf of Plaintiffs and the Multi-State Class)

          182.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          183.   By using nH Predict to determine whether to deny coverage, Defendant

   failed to act reasonably in processing and handling Plaintiffs’ and Class members’ claims.

          184.   Defendant’s denial of Plaintiffs’ and Class members’ claims was based on

   the malicious implementation of the nH Predict AI Model intended to enable Defendant to

   deny as many claims as possible and to pay out as little as possible. Defendant’s refusal to

   pay Plaintiffs’ and Class members’ claims was not predicated upon circumstances that

   furnish reasonable justification therefore.

          185.   Defendant’s use of the nH Predict AI Model to deny Plaintiffs’ and Class

   members’ claims constitutes refusal to pay claims in an arbitrary and capricious manner.

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                           EIGHTEENTH CAUSE OF ACTION
                        INSURANCE BAD FAITH—OKLAHOMA
                      (On Behalf of Plaintiffs and the Multi-State Class)

          186.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          187.   Plaintiffs and Class members were covered persons under the insurance

   agreement.

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          188.   Defendant’s use of the nH Predict AI Model to deny Plaintiffs’ and Class

   members’ claims without an individual or holistic review was unreasonable under the

   circumstances.

          189.   By using the nH Predict AI Model to unreasonably deny Plaintiffs’ and Class

   members’ claims, Defendant failed to deal fairly and act in good faith in its handling of

   Plaintiffs’ and Class members’ claims.

          190.   As alleged above, Defendant’s conduct breached the duty of good faith and

   fair dealing, directly causing Plaintiffs’ and Class members’ damages.

          191.   Defendant knew or should have known that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or recklessly disregarded that

   there was no reasonable basis for denial.

          192.   By reason of the conduct of Defendant as alleged herein, Plaintiffs are

   entitled to attorneys’ fees and costs associated with bringing this litigation, pursuant to

   Okla. Stat. Title 36 § 3629.

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                           NINETEENTH CAUSE OF ACTION
                       INSURANCE BAD FAITH—RHODE ISLAND
                      (On Behalf of Plaintiffs and the Multi-State Class)

          193.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          194.   Defendant had no reasonable basis for the denial of coverage.




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          195.   Defendant knew or should have known that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or recklessly disregarded that

   there was no reasonable basis for denial.

          196.   Defendant failed to conduct an independent holistic review of Plaintiffs’ and

   Class members’ claims.

          197.   Defendant acted unreasonably in its evaluation and processing of

   Plaintiffs’and Class members’ claims and knew or was conscious of the fact that their

   implementation of the nH Predict AI Model to deny Plaintiffs’ and Class members’ claims

   was unreasonable.

          198.   Defendant’s denials of Plaintiffs’ and Class members’ claims were based on

   the malicious implementation of the nH Predict AI Model intended to enable Defendant to

   deny as many claims as possible and to pay out as little as possible. The validity of

   Plaintiffs’ and Class members’ claims was neither fairly debatable, nor was there a

   reasonable basis for denying the claim.

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                           TWENTIETH CAUSE OF ACTION
                     INSURANCE BAD FAITH—SOUTH CAROLINA
                      (On Behalf of Plaintiffs and the Multi-State Class)

          199.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.




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          200.     Plaintiffs and Class members entered into insurance agreements with

   Defendant that provided for coverage for medical services administered by healthcare

   providers.

          201.     Defendant refused to pay Plaintiffs’ and Class members’ claims as required

   by the insurance agreement.

          202.     Defendant deployed the nH Predict AI Model to unreasonably deny claims

   that ought to have not been denied, in bad faith and in violation of the insurance agreement.

          203.     As alleged above, Defendant’s conduct breached the duty of good faith and

   fair dealing.

          204.     Plaintiffs and Class members suffered damages as a result of Defendant’s

   bad faith.

          205.     Defendant’s denial of Plaintiffs’ and Class members’ claims was based on

   the malicious implementation of the nH Predict AI Model intended to enable Defendant to

   deny as many claims as possible and to pay out as little as possible. Defendant had no

   reasonable grounds for contesting and denying Plaintiffs’ and Class members’ claims.

          206.     By reason of the conduct of Defendant as alleged herein, Plaintiffs are

   entitled to reasonable attorneys’ fees and costs associated with bringing this litigation,

   pursuant to S.C. Code Ann. § 38–59–40.

                            TWENTY-FIRST CAUSE OF ACTION
                        INSURANCE BAD FAITH—SOUTH DAKOTA
                        (On Behalf of Plaintiffs and the Multi-State Class)

          207.     Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.



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          208.   Defendant’s denials of Plaintiffs’ and Class members’ claims were based on

   the malicious implementation of the nH Predict AI Model intended to enable Defendant to

   deny as many claims as possible and to pay out as little as possible. Defendant had no

   reasonable basis for denying Plaintiffs’ and Class members’ claims, withholding policy

   benefits, or failing to comply with the insurance agreement.

          209.   Defendant knew or had reason to know that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or had reason to know that the

   nH Predict AI Model was not a reasonable basis to deny claims.

          210.   Defendant failed to conduct an adequate independent investigation into

   Plaintiffs’ and Class members’ claims before issuing a denial, acting with reckless

   disregard for whether there was a reasonable basis to deny the claims.

          211.   Plaintiffs and Class members sustained damages as a result of Defendant’s

   bad faith.

          212.   The validity of Plaintiffs’ and Class members’ claims was readily apparent

   on its face and was not fairly debatable after an adequate investigation.

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                        TWENTY-SECOND CAUSE OF ACTION
                         INSURANCE BAD FAITH—VERMONT
                      (On Behalf of Plaintiffs and the Multi-State Class)

          213.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.



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          214.   Defendant’s denials of Plaintiffs’ and Class members’ claims were based on

   the malicious implementation of the nH Predict AI Model intended to enable Defendant to

   deny as many claims as possible and to pay out as little as possible. Defendant had no

   reasonable basis for denying Plaintiffs’ and Class members’ claims, withholding policy

   benefits, or failing to comply with the insurance agreement.

          215.   Defendant knew or had reason to know that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or had reason to know that the

   nH Predict AI Model was not a reasonable basis to deny claims.

          216.   Defendant failed to conduct an adequate independent investigation into
   Plaintiffs’ and Class members’ claims before issuing a denial, acting with reckless
   disregard for whether there was a reasonable basis to deny the claims.

                         TWENTY-THIRD CAUSE OF ACTION
                       INSURANCE BAD FAITH—WASHINGTON
                      (On Behalf of Plaintiffs and the Multi-State Class)

          217.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          218.   Defendant’s denial of Plaintiffs’ claims was based on the malicious

   implementation of the nH Predict AI Model intended to enable Defendant to deny as many

   claims as possible and to pay out as little as possible. Defendant’s denials of Plaintiffs’

   claims were unreasonable, frivolous, and unfounded.

          219.   Defendant’s denials of Plaintiffs’ and Class members’ claims were based on

   generalized data from the nH Predict system, not on facts specific to Plaintiffs’ and Class

   members’ claims. Consequently, Defendant acted unreasonably in performing its




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   “investigation” of Plaintiffs’ and Class members’ claims, and the denials were not based

   upon a reasonable interpretation of the insurance agreement.

          220.   Defendant failed to conduct an adequate independent investigation into

   Plaintiffs’ and Class members’ claims before issuing a denial, acting with reckless

   disregard for whether there was a reasonable basis to deny the claims.

          221.   By reason of the conduct of Defendant as alleged herein, Plaintiffs are
   entitled to damages enhancements pursuant to RCW 48.30.015.
                         TWENTY-FOURTH CAUSE OF ACTION
                      INSURANCE BAD FAITH—WEST VIRGINIA
                      (On Behalf of Plaintiffs and the Multi-State Class)

          222.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          223.   Defendant’s denial of Plaintiffs’ and Class members’ claims was based on

   the malicious implementation of the nH Predict AI Model intended to enable Defendant to

   deny as many claims as possible and to pay out as little as possible. The validity of

   Plaintiffs’ and Class members’ claims was neither fairly debatable, nor was there a

   reasonable basis for denying the claim.

          224.   Defendant knew or had reason to know that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or had reason to know that the

   nH Predict AI Model was not a reasonable basis to deny claims.

          225.   Defendant failed to conduct an adequate independent investigation into

   Plaintiffs’ and Class members’ claims before issuing a denial, acting with reckless

   disregard for whether there was a reasonable basis to deny the claims.




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                           TWENTY-FIFTH CAUSE OF ACTION
                         INSURANCE BAD FAITH—WISCONSIN
                       (On Behalf of Plaintiffs and the Multi-State Class)

          226.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          227.   Had Defendant conducted a reasonable and adequate investigation of

   Plaintiffs’ and Class members’ claims on an individual and holistic basis, it would have

   recognized that it was required to pay Plaintiffs’ and Class members’ claims.

          228.   Defendant deployed the nH Predict AI Model to unreasonably deny claims

   that ought to have not been denied, in bad faith and in violation of the insurance agreement.

          229.   Defendant’s denial of Plaintiffs’ and Class members’ claims was based on

   the malicious implementation of the nH Predict AI Model intended to enable Defendant to

   deny as many claims as possible and to pay out as little as possible. Defendant’s denial of

   Plaintiffs’ and Class members’ claims was not the result of an honest disagreement or an

   innocent mistake.

          230.   Defendant failed to conduct an adequate independent investigation into

   Plaintiffs’ and Class members’ claims before issuing a denial, acting with reckless

   disregard for whether there was a reasonable basis to deny the claims.

                           TWENTY-SIXTH CAUSE OF ACTION
                          INSURANCE BAD FAITH—WYOMING
                       (On Behalf of Plaintiffs and the Multi-State Class)

          231.   Plaintiffs reallege and incorporate by reference all preceding allegations as

   though fully set forth herein.

          232.   Defendant’s denial of Plaintiffs’ and Class members’ claims were based on

   the malicious implementation of the nH Predict AI Model intended to enable Defendant to

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   deny as many claims as possible and to pay out as little as possible. The validity of

   Plaintiffs’ and Class members’ claims was neither fairly debatable, nor was there a

   reasonable basis for denying the claim.

         233.   A reasonable insurer would not have denied Plaintiffs’ and Class members’

   claims under the facts and circumstances alleged herein.

         234.   Defendant knew or had reason to know that the nH Predict system was an

   inadequate method for deciding to deny claims and knew or had reason to know that the

   nH Predict AI Model was not a reasonable basis to deny claims.

         235.   Defendant failed to conduct an adequate independent investigation into

   Plaintiffs’ and Class members’ claims before issuing a denial, acting with reckless

   disregard for whether there was a reasonable basis to deny the claims.

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                                  PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

   situated, request that this Court enter an order granting the following relief against

   Defendant:

         a.     Awarding actual damages, consequential damages, statutory damages,

                exemplary/punitive damages, costs and attorneys’ fees;

         b.     Awarding damages for emotional distress;

         c.     Awarding disgorgement and/or restitution;

         d.     Awarding pre-judgment interest to the extent permitted by law;



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         e.     Appropriate declaratory and injunctive relief enjoining Defendant from

                continuing its improper and unlawful claim handling practices as set forth

                herein;

         f.     Such other and further relief as the Court may deem just and proper.

                                JURY TRIAL DEMANDED

         Plaintiffs demand a jury trial on all triable issues.

   DATED: December 12, 2023                   GUILFOYLE LAW OFFICE

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